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                          UNITED STATES DISTRICT COURT
                            DISTRICT OF CONNECTICUT

RYAN MERHOLZ, and MELVYN KLEIN,          : CASE NO. 3:20-CV-00557-VAB
Derivatively On Behalf Of WORLD          :
WRESTLING ENTERTAINMENT, INC.,           :
                                         :
             Plaintiffs,                 :
                                         :
v.                                       :
                                         :
VINCENT K. MCMAHON, STEPHANIE            :
MCMAHON, PAUL LEVESQUE, FRANK A. :
RIDDICK III, STUART U. GOLDFARB,         :
LAUREEN ONG, ROBYN W. PETERSON,          :
MAN JIT SINGH, JEFFREY R. SPEED,         :
ALAN M. WEXLER, GEORGE A. BARRIOS, :
and MICHELLE D. WILSON,                  :
                                         :
             Defendants,                 :
                                         :
WORLD WRESTLING ENTERTAINMENT,           :
INC.,                                    :
                                         :
             Nominal Defendant.          : JULY 2, 2020
______________________________________________________________________________

DANIEL KOOI, derivatively on behalf of   : CASE NO. 3:20-CV-00743-VAB
WORLD WRESTLING ENTERTAINMENT,           :
INC.,                                    :
                                         :
            Plaintiff,                   :
                                         :
v.                                       :
                                         :
VINCENT K. MCMAHON, FRANK A.             :
RIDDICK III, JEFFREY R. SPEED,           :
PATRICIA A. GOTTESMAN, STUART U.         :
GOLDFARB, LAUREEN ONG, PAUL              :
LEVESQUE, ROBYN W. PETERSON,             :
STEPHANIE MCMAHON, MAN JIT SINGH,        :
ALAN M. WEXLER, GEORGE A. BARRIOS,       :
and MICHELLE D. WILSON                   :
                                         :
            Defendants.                  :
                                         :
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WORLD WRESTLING ENTERTAINMENT,           :
INC.                                     :
                                         :
            Nominal Defendant.           : JULY 2, 2020
______________________________________________________________________________

RODNEY NORDSTROM, derivatively on               : CASE NO. 3:20-CV-00904-CSH
behalf of WORLD WRESTLING                       :
ENTERTAINMENT, INC.,                            :
                                                :
              Plaintiff,                        :
                                                :
v.                                              :
                                                :
VINCENT K. MCMAHON, GEORGE A.                   :
BARRIOS, MICHELLE D. WILSON,                    :
STEPHANIE MCMAHON, PAUL                         :
LEVESQUE, FRANK A. RIDDICK III,                 :
STUART U. GOLDFARB, LAUREEN ONG,                :
ROBYN W. PETERSON, MAN JIT SINGH,               :
JEFFREY R. SPEED, ALAN M. WEXLER,               :
and PATRICIA A. GOTTESMAN,                      :
                                                :
              Defendants,                       :
                                                :
WORLD WRESTLING ENTERTAINMENT,                  :
INC.,                                           :
                                                :
              Nominal Defendant.                : JULY 2, 2020

                 DEFENDANTS’ MOTION TO CONSOLIDATE CASES

       Pursuant to Federal Rule of Civil Procedure 42(a), Defendants Vincent K. McMahon,

George A. Barrios, Michelle D. Wilson, Stephanie McMahon, Paul Levesque, Frank A. Riddick,

III, Stuart U. Goldfarb, Laureen Ong, Robyn W. Peterson, Man Jit Singh, Jeffrey R. Speed, Alan

M. Wexler, and Patricia A. Gottesman (“Defendants”) and Nominal Defendant World Wrestling

Entertainment, Inc. (“WWE”) hereby move to consolidate the cases captioned Merholz et al. v.

McMahon, et al., No. 3:20-cv-00557-VAB (D. Conn.) (the “Merholz Action”), Kooi v.

McMahon, et al., No. 3:20-CV-00743-VAB (D. Conn.) (the “Kooi Action”), and Nordstrom v.



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McMahon, et al., No. 3:20-CV-00904-CSH (D. Conn.) (the “Nordstrom Action”) before the

Honorable Victor A. Bolden. Defendants are cross-filing this motion in all three actions.

       As set forth more fully in the accompanying Memorandum of Law in support of this

motion, the Merholz Action, the Kooi Action, and the Nordstrom Action should be consolidated

because they are nearly identical shareholder derivative lawsuits asserting essentially the same

claims against the same Defendants based on the same factual allegations. Consolidation is

appropriate because these actions involve common questions of fact and law, and consolidation

will serve the interests of judicial economy and avoid unnecessary costs.

       WHEREFORE, the Court should grant Defendants’ motion to consolidate and

consolidate the Merholz Action, the Kooi Action, and the Nordstrom Action for all purposes.


                                                   DEFENDANTS VINCENT K. MCMAHON,
                                                   GEORGE A. BARRIOS, MICHELLE D.
                                                   WILSON, STEPHANIE MCMAHON, PAUL
                                                   LEVESQUE, FRANK A. RIDDICK III,
                                                   STUART U. GOLDFARB, LAUREEN ONG,
                                                   ROBYN W. PETERSON, MAN JIT SINGH,
                                                   JEFFREY R. SPEED, ALAN M. WEXLER,
                                                   PATRICIA A. GOTTESMAN, and NOMINAL
                                                   DEFENDANT WORLD WRESTLING
                                                   ENTERTAINMENT, INC.,

                                                   By: /s/ Jeffrey P. Mueller
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                               CERTIFICATION OF SERVICE

        I hereby certify that, on July 2, 2020, a copy of the foregoing was filed electronically and
served by mail on anyone unable to accept electronic filing. Notice of this filing will be sent by
e-mail to all parties by operation of the Court’s electronic filing system or by mail to anyone
unable to accept electronic filing as indicated on the Notice of Electronic Filing. Parties may
access this filing through the Court’s CM/ECF System.

                                                   /s/ Jeffrey P. Mueller
                                                  Jeffrey P. Mueller (ct27870)




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